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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHELE LAPENNA                          :
                                         :
      v.                                 :      CIVIL ACTION NO. 19-3718
                                         :
ANDREW SAUL,                             :
Commissioner of Social Security          :


                                          ORDER

       This 20th day of October, 2020, after review of the Report and Recommendation of Carol

Sandra Moore Wells, United States Magistrate Judge, it is hereby ORDERED that:

       1. The Report and Recommendation is APPROVED and ADOPTED;

       2. The Plaintiff’s Complaint is DISMISSED; and

       3. The Clerk of Court shall mark this case CLOSED.


                                                            /s/ Gerald Austin McHugh
                                                          United States District Judge
